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                 Exhibit D
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Re: URGENT -- IAF contracts & DOGE
                 <                 >                                                                       Wed, Feb 26, 2025 at 7:26 AM
To: Sara Aviel <               >,                  <                        >
Cc: OfficeDirector <OfficeDirector@iaf.gov>,              <                       >,                   <                  >,
<             >

  Morning all - I spoke to ARC this am. At 7:30 last night DOGE informed Treasury leadership (SPE) to
  "cancel all IAF contracts by COB Thurs". SPE informed ARC procurement director (Wes Pickens, who used
  to be a CO for IAF), who let Tina (who also was a former CO for IAF) know.

  ARC has not rec'd anything in writing and communicated the requirements of our Inter-Agency Agreement
  (IAA) to SPE, as well as their concern about the legality of this. They were going to be meeting this
  morning. Tina did not have any additional information to share.

  This is about ALL contracts for IAF, not just the service contracts we reviewed earlier. Cancelation would
  cut off our ability to operate as an agency, I will attach a list shortly. As we said, the vise is tightening.

  Lesley




                                     www.iaf.gov



  Empowered Communities, Sustainable Results



  On Tue, Feb 25, 2025 at 9:22 PM                  <                                        > wrote:

           ,



    I will be setting up a meeting with you to discuss IAF contracts first thing in the morning based on a call we
    received this evening from Treasury’s Senior Procurement Executive (SPE). Please contact me in the morning.
    My tour tomorrow begins at 6am and you can reach me anytime between 6-9am. I have a meeting at 9am, so if
    I’m unable to talk with you before then, I will try to reach you after my meeting.



    Thanks,




                                                                    , Manager

                                                   Non Treasury Acquisition Branch (NTAB)

                                                   Division of Procurement Services

                                                   Bureau of the Fiscal Service
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                         Phone

                         Email
